 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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 NADEEM BASHIR,
                                                                            JUDGMENT
                                                                            19 CV 3506 (LDH)(JO)
                                   Plaintiff,
         v.

 IQBAL & SONS FUEL, INC., SHAHID
 NADEEM FUEL, INC., SHAHID IQBAL
 And SANAN IQBAL,

                                    Defendants.
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         An Order of the Honorable LaShann DeArcy Hall, United States District Judge, having

been filed on April 20, 2020, adopting the Report and Recommendation of Magistrate Judge Lois

Bloom, dated March 30, 2020, granting Plaintiff’s motion for settlement approval; it is

        ORDERED and ADJUDGED that Plaintiff’s motion for settlement approval is granted.

Dated: Brooklyn, New York                                            Douglas C. Palmer
        April 24, 2020                                               Clerk of Court

                                                               By:    /s/Jalitza Poveda
                                                                      Deputy Clerk
